                Case:
ILND 450 (Rev. 10/13)    1:17-cv-05697
                      Judgment in a Civil Action Document #: 53 Filed: 05/09/19 Page 1 of 1 PageID #:295


                                  IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS

 Antoine Lindsay,

 Plaintiff(s),
                                                               Case No. 17-cv-5697
 v.                                                            Judge Dow

 E & R Towing, et al,

 Defendant(s).

                                         JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which     includes       pre–judgment interest.
                                    does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


             in favor of defendant(s) Defendants E & R Towing, Inc., United Road Towing, Inc., URT United
Road Towing, Inc., and URT E&R Towing, Inc.
             and against plaintiff(s) Antoine Lindsay.
.
      Defendant(s) shall recover costs from plaintiff(s).


                 other:

This action was (check one):

      tried by a jury with Judge     presiding, and the jury has rendered a verdict.
      tried by Judge     without a jury and the above decision was reached.
      decided by Judge Robert M. Dow on a motion.



Date: 5/8/2019                                          Thomas G. Bruton, Clerk of Court

                                                        Carolyn Hoesly, Deputy Clerk
